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Anthony George Thomas &
Wendi Thomas, Pro Per

7725 Peavine Peack Court
Reno, Nevada 89523

Phone: 408-640-2795

Email: ATEmerald2@gmail.com

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

In re: Case No: BK-N-14-50333-btb

Chapter 11
ANTHONY THOMAS and WENDI THOMAS

[Lead Case — Jointly Administered}
Affects AT EMERALD LLC Case No: BK-N-14-50331-btb
Chapter 11

DECLARATION OF ANTHONY
THOMAS IN SUPPORT OF HIS
OPPOSITION TO THE TRUSTEES
MOTION TO APPROVE
ADMINISTRATIVE EXPENSE

Date: October 1, 2014
Time: 10:00 a.m.

 

1, Anthony George Thomas, hereby declare:

1. 1am the debtor, in the above matter, along with my wife and Emerald LLC.
| have no objection to the petition therein for the Trustee and John Beach to inspect the
emerald, as long | am allowed to accompany them when they inspect the emerald and
that said inspection take place anytime after the 15" of October. |! have spoken with
the buyer whom the court approved the sale to in July 2014. The buyer has informed

me that although he’s had problems in clearing the transfer of the 200 million dollars to

 

 

 

 
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complete the sale, he will be able to accomplish the same by the 15" of October. The

buyer and | have known each other for quite some time and has no problem with the
Trustee and Mr. Beach or his nominee inspecting the emerald provided that | am
present for said inspection, otherwise without my presence the buyer would condition
release of said funds with a further inspection. Additionally in that | have a key to the
vault, my presence would eliminate the drilling of the vault and save the estate
unnecessary expense.

In summary, | have no objection to the petition provided that | am allowed to
accompany them when they inspect the emerald and that said inspection be anytime
after October 15, 2014. | will personally pay my expenses for this trip. Prior to
preparing this objection | attempted to reach the Trustee and Mr. Beach by both phone
and email to seek a stipulation for the same but without success.

| declare under penalty of perjury pursuant to the laws of the State of Nevada that the

foregoing is true and correct.

7 f \
Signed: September 30, 2014, at Reno Nevada eon Vpn
Anthony’ Thomas

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9/30/2014 Gmail - Work together to accomplish the same goals

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MLL.

S:

Work together to accomplish the same goals

Anthony Thomas <atemeraid2@gmail.com> Tue, Sep 30, 2014 at 1:50 PM
To: "renobktrustee@gmail.com" <renobktrustee@gmail.com>
Bcc: "machadolaw.offices@gmail.com" <machadolaw. offices@gmail.com>

Dear Jeri, | would like to work with you to accomplish the same goals, to sell the Thomas emerald and pay off my
creditors. Jeri nobody knows more about that emerald and the history of why its so unique and rare in the world
then me. | can help educate to save you a lot of time and research so that we get the most value for it. We still
have a buyer that wants to purchase the Emerald. He is the quickest way to liquidating the Emerald. | would like
to stipulate to an agreement so that we can get this accomplished. | tried to talk to Holland & Heart about this
but they said | needed to talk to you. | have called your office several times and have not got a return phone call,
my phone number is 408-640 -2795 please call me back so that we can work together to get this done.

Regards

Tonyu
